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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Action No.: 1:19-cv-00874-RBJ-MEH

   WARNER RECORDS INC., et al.,

                    Plaintiffs,

   v.

   CHARTER COMMUNICATIONS, INC.,

                    Defendant.

   ______________________________________________________________________________

   PLAINTIFFS’ REQUEST FOR JUDICIAL NOTICE OF PUBLIC ENTRIES FROM U.S.
                   COPYRIGHT OFFICE’S COPYRIGHT CATALOG
   _______________________________________________________________________________

            Pursuant to Federal Rule of Evidence 201(b), Plaintiffs request that the Court take

   judicial notice of the copyright registration information contained in eleven public entries in the

   U.S. Copyright Office’s Copyright Catalog (“Copyright Catalog”). The Copyright Catalog is the

   Copyright Office’s public database of “registrations and records for all works dating from

   January 1, 1978, to the present.” Copyright Office Circular 23, The Copyright Card Catalog and

   the Online Files of the Copyright Office.1 As detailed below, judicial notice of this information

   is appropriate, and required under Federal Rule of Evidence 201(c)(2), because (1) facts

   contained in publicly-available, government records qualify under Rule 201(b), as the Court has

   previously recognized; and (2) Plaintiffs have provided the Court the necessary information to

   grant judicial notice.



   1
       Available at https://www.copyright.gov/circs/circ23.pdf.
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   I.      Legal Standard

          Under Rule 201, “[t]he court may judicially notice a fact that is not subject to reasonable

   dispute because it . . . can be accurately and readily determined from sources whose accuracy

   cannot reasonably be questioned.” Fed. R. Evid. 201(b). Qualifying sources include publicly-

   available government records, such as a federal registry. Clappier v. Flynn, 605 F.2d 519, 535

   (10th Cir. 1979); O’Hanlon v. AccessU2 Mobile Sols., LLC, No. 18-CV-00185-RBJ-NYW, 2019

   WL 1081079, at *6 n.5 (D. Colo. Jan. 22, 2019) (Jackson, J.) (“tak[ing] judicial notice of

   information from the United States Patent and Trademark Office’s Public Patent Application

   Information Retrieval System (‘PAIR’)” relating to assignment of rights in patent).

          The court “must take judicial notice if a party requests it and the court is supplied with

   the necessary information.” Fed. R. Evid. 201(c)(2) (emphasis added).

   II.    Public Entries from the Copyright Catalog Must Be Judicially Noticed.

          Like the records in the U.S. Patent and Trademark Office’s Public Patent Application

   Information Retrieval System—which this Court judicially noticed in O’Hanlon v. AccessU2,

   2019 WL 1081079, at *6 n.52—the Copyright Catalog is a source of public, government

   information “whose accuracy cannot reasonably be questioned.” Accordingly, courts across the

   country consistently take judicial notice of Copyright Catalog records under Rule 201(b). See,

   e.g., Brooks-Ngwenya v. Indianapolis Pub. Sch., 564 F.3d 804, 808 (7th Cir. 2009) (taking

   judicial notice of registration information from Copyright Catalog and noting the “district court



   2
     See also Strobel v. Rusch, 431 F. Supp. 3d 1315, 1326 (D.N.M. 2020) (attaching printout of
   trademark registration from court’s own search of the official USPTO website and taking judicial
   notice “because the record ‘can be accurately and readily determined from sources whose
   accuracy cannot reasonably be questioned’”).


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   was incorrectly persuaded by [defendant] that it could not”); Island Software & Computer Serv.,

   Inc. v. Microsoft Corp., 413 F.3d 257, 261 (2d Cir. 2005) (holding that “[t]he district court was

   entitled to take judicial notice of Microsoft’s federal copyright registrations, as published in the

   Copyright Office’s registry”); Sony Music Entm’t v. Cox Commc’ns, Inc., No. 1:18-CV-950-LO-

   JFA, ECF No. 467 (E.D. Va. Oct. 18, 2019) (taking judicial notice of registration information in

   Copyright Catalog for hundreds of works).3

          Like the physical certificates of registration of which they are a record, the Copyright

   Catalog entries identify the copyright claimant, the fact of registration by that claimant, and other

   facts related to the registration and the work: the type of work, registration number, author, title,

   dates of creation and publication, and nation of first publication. Compare Ex. 12 (certificate of

   registration for musical composition registered as PA0001852254) with Ex. 13 (Copyright

   Catalog entry for same musical composition).4 Plaintiffs request that the Court take judicial

   notice of those facts, which bear on Plaintiffs’ motion for partial summary judgment regarding

   their ownership of the underlying copyrights.




   3
     See also, e.g., Kaseberg v. Conaco, LLC, 360 F. Supp. 3d 1026, 1029 n.2 (S.D. Cal. 2018)
   (taking judicial notice of Copyright Catalog printouts); Hybrid Promotions, LLC v. Zaslavsky,
   2016 WL 10988656, at *6 (C.D. Cal. Oct. 5, 2016) (same); BMG Rts. Mgmt. (US) LLC v. Cox
   Commc’ns, Inc., 149 F. Supp. 3d 634, 646 (E.D. Va. 2015) (same); White v. Alcon Film Fund,
   LLC, 52 F. Supp. 3d 1308, 1316 n. 9 (N.D. Ga. 2014) (same); Liberty Media Hldgs., LLC v.
   Tabora, 2012 WL 2711381, at *1 n. 11 (S.D.N.Y. July 9, 2012) (same); ATPAC, Inc. v. Aptitude
   Sols., Inc., 2010 WL 1779901, at *3 (E.D. Cal. Apr. 29, 2010) (same); Sloane v. Karma
   Enterprises, Inc., 2008 WL 11342657, at *3 (C.D. Cal. Nov. 3, 2008) (same).
   4
     For the eleven Copyright Catalog entries that are the subject of this request, Plaintiffs
   requested, but have not yet received from the Copyright Office, copies of their registration
   certificates. See Sahni Decl. ¶ 15.


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   PL_CH_0202010, attached hereto as Ex. 9.        McMullan Declaration at ¶ 27; Ex. UMG-27A.

   PL_CH_0202012, attached hereto as Ex. 10.       McMullan Declaration at ¶ 27; Ex. UMG-27A.

   PL_CH_0202019, attached hereto as Ex. 11.       Blietz Declaration at ¶ 119; Ex. WCP-119A.

                                          CONCLUSION

         For the foregoing reasons, the Court should grant Plaintiffs’ Request for Judicial Notice.



   Dated: November 15, 2021                       /s/ Neema T. Sahni
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                          LOCAL CIVIL RULE 7.1(a) CERTIFICATION

          Pursuant to Local Civil Rule 7.1(a), Plaintiffs certify that they conferred with Charter

   regarding this request. Plaintiffs advised Charter of this request and the basis for it on

   Wednesday, November 10, 2021. On Friday, November 12, on Charter’s request, Plaintiffs

   provided further clarification of the facts sought to be noticed. Charter stated on November 15

   that it would not consent to this request.

                                                                 /s/ Neema T. Sahni
                                                                 Neema T. Sahni



                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on November 15, 2021, I caused the foregoing document and

   all supporting materials thereto to be filed electronically with the Clerk of the Court using the

   CM/ECF system, which will send a notice of electronic filing to all counsel of record registered

   with CM/ECF.


                                                                 /s/ Neema T. Sahni
                                                                 Neema T. Sahni




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